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                                          UNITED STATES v. RYAN WESLEY ROUTH
                                          CASE NO. 24-80116-CR-CANNON/MCCABE
                                  GOV’TS THIRD RESPONSE TO STANDING DISCOVERY ORDER
                                             DATE PRODUCED: November 22, 2024
                                               BATES RANGE: Gov005954-7523
            FOLDER:                                            FILE NAME:                          BATES Range Nos.:
                                                            (“>” denotes a folder)
                                                         (“>>” denotes a subfolder)
                                                     (“-”) denotes file within subfolder)
01 Lab Reports                       >> Digital Images:                                             Gov005954-6114
> Firearms-Toolmarkings-Halepaska,    - NHR_1 – NHR-66 (Gov005954- 6019)
Douglas                              >> Quality Documents:
                                      - Abbreviations (Gov006020-25)
                                      - Equipment Calibration and Maintenance (Gov006026-28)
                                      - FTD ASSTR (Gov006029-35)
                                      - FTD Monitoring (Gov006036-40)
                                      - Measurement Uncertainty and Validation (Gov006041-49)
                                      - Organization and Programs (Gov006050-56)
                                      - Records, Results, Reporting, and Reviews (Gov006057-69)
                                      - Report Language, Methods, and Limitations (Gov006070-91)
                                      - Shooting Incident Reconstruction (Gov006092-98)
                                     Photolog_Redacted (Gov006099-6100)
                                     2024-02020-32 Halepaska_Redacted (Gov006101-10)
                                     2024-02020-32 Trajectory Graphics Redacted (Gov006111-14)
01 Lab Reports                       2024-02020-13 1A_Redacted (Gov006115-6138)                     Gov006115-6138
> Questioned Documents-Gorn,
Michael
01 Lab Reports                       2024-02020-2 1A (Gov006139-6152)                               Gov006139-6157
> Trace Evidence-Baloga, Ashley      2024-02020-2 LR_Redacted (Gov006153-6157)
01 Lab Reports                       2024-02020-3 1A (Gov006158-6162                                Gov006158-6162
> Trace Evidence-Webb, Jodi
02 LE Reports                        Redacted_Memorandum of Interview - ATSAIC                 -    Gov006163-6220
                                     AD and RH_Redacted (Gov006163-6164)
                                     Redacted_Memorandum of Interview - Officer Technician
                                               _Redacted (Gov006165-6167)

                                                                 1
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                            Case 9:24-cr-80116-AMC Document 75-1 Entered on FLSD Docket 11/22/2024 Page 3 of 9

                                                      UNITED STATES v. RYAN WESLEY ROUTH
                                                      CASE NO. 24-80116-CR-CANNON/MCCABE
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                    FOLDER:                                                  FILE NAME:                        BATES Range Nos.:
                                                                          (“>” denotes a folder)
                                                                       (“>>” denotes a subfolder)
                                                                   (“-”) denotes file within subfolder)
                                                    Redacted_Memorandum of Interview SA                 24-
                                                    041_Redacted (Gov006215-6218)
                                                    Redacted_Memorandum of Interview Seargent-Technician
                                                            - RH-AS Redacted (Gov006219-6220)
    03 FBI 302 1As                                  >FBI 302 Attachments Batch 1:                               Gov006221-6718
    >Batch 1                                        >> Jpeg files:
                                                       - Jpeg Batch 1 (Gov006221-6270)
                                                       - Jpeg Batch 2 (Gov006271-6320)
                                                       - Jpeg Batch 3 (Gov006321-6470)
                                                       - Jpeg Batch 4 (Gov006471-6560)
                                                       - Jpeg Batch 5 (Gov006561-6605)
                                                    >> MP4 Files:
                                                       - 0000054_1A0000029_0000006 (Gov006606)
                                                       - 0000603_1A0000480_0000001 1 (Gov006607)
                                                       - 0001007_1A0000841_0000001 (Gov006608)
                                                       - 0001007_1A0000841_0000002 (Gov006609)
                                                       - 0001007_1A0000841_0000019 (Gov006610)
                                                       - 0001007_1A0000841_0000022 (Gov006611)
                                                       - 2024-09-15 FBI 8 - Inside (Gov006612)
                                                       - 2024-09-15 FBI 8 - Outside (Gov006613)
                                                       - 2024-09-15 FBI 17 suspect car – Inside (Gov006614)
                                                       - 2024-09-15 FBI 17 suspect car – Outside (Gov006615)
                                                       - PXL_20240916_163229628.TS (Gov006616)
                                                    >> PDF Files:
                                                       - PDF Files Combined_Redacted (Gov006617-6684)

1
    Select VLC or Windows media player or view the contents of this video file.
                                                                                  3
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                                    UNITED STATES v. RYAN WESLEY ROUTH
                                    CASE NO. 24-80116-CR-CANNON/MCCABE
                            GOV’TS THIRD RESPONSE TO STANDING DISCOVERY ORDER
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           FOLDER:                                     FILE NAME:                            BATES Range Nos.:
                                                    (“>” denotes a folder)
                                                 (“>>” denotes a subfolder)
                                             (“-”) denotes file within subfolder)
                                >> PNG Files:
                                   - PNG Files Combined (Gov006685-6718)
03 FBI 302 1As                  >> Jpeg Files:                                                 Gov006719-6917
>Batch 2                           - Jpeg Files Combined: (Gov006719-6843)
                                >> PDF Files:
                                   - PDF Files Combined (Gov006844-6911)
                                >> PNG Files:
                                   - PNG Files Combined: (Gov006912-6917)
04 Search Warrant Returns       >>594 NC Search Warrants Execution:                            Gov006918-7468
                                   - 594_1A0000469_0000004_Redacted (Gov006918)
                                   - 594_1A0000469_0000005_Redacted (Gov006919-6928)
                                >> 734 Xterra:
                                   - 734 ERT Search Warrant Execution of VIN #
                                       5N1AN08W87C527755, 2007 Black Nissan
                                       Xterra_Redacted (Gov006929-6930)
                                >> 892 Verizon Cellsite:
                                   - 892_1A0000735_0000002 (Excel File) (Gov006931)
                                   - 892_1A0000735_0000013 (Excel File) (Gov006932)
                                   - 892_1A0000735_0000014 (Excel File) (Gov006933)
                                   - 892_1A0000735_0000015 (Excel File) (Gov006934)
                                   - 892_1A0000735_0000017 (Excel File) (Gov006935)
                                   - 892_1A0000735_0000018 (Excel File) (Gov006936)
                                   - 892_1A0000735_0000019 (Excel File) (Gov006937)
                                   - 892_1A0000735_0000025 (Excel File) (Gov006938)
                                   - 892_1A0000735_0000027 (Excel File) (Gov006939)
                                   - 892_1A0000735_0000028 (Excel File) (Gov006940)
                                   - 892 1A0000735 0000003 (Excel File) (Gov006941)
                                                            4
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                       UNITED STATES v. RYAN WESLEY ROUTH
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               GOV’TS THIRD RESPONSE TO STANDING DISCOVERY ORDER
                          DATE PRODUCED: November 22, 2024
                            BATES RANGE: Gov005954-7523
FOLDER:                                    FILE NAME:                           BATES Range Nos.:
                                        (“>” denotes a folder)
                                     (“>>” denotes a subfolder)
                                 (“-”) denotes file within subfolder)
                      - 892_1A0000735_0000004 (Excel File) (Gov006942)
                      - 892_1A0000735_0000006 (Excel File) (Gov006943)
                      - 892_1A0000735_0000016 (Excel File) (Gov006944)
                      - 892_1A0000735_0000023 (Excel File) (Gov006945)
                      - 892_1A0000735_0000031 (Excel File) (Gov006946)
                      - 892_1A0000735_0000032 (Excel File) (Gov006947)
                      - 892_1A0000735_0000033 (Excel File) (Gov006948)
                      - 892_1A0000735_0000007 (Gov006949-6951)
                      - 892_1A0000735_0000010 (Gov006952)
                      - 892_1A0000735_0000022 (Gov006953)
                      - 892_1A0000735_0000024 (Gov006954)
                      - 892_1A0000735_0000030 (Gov006955)
                   >> 893 AT&T:
                      - 893_1A0000736_0000007 (Excel File) (Gov006956)
                      - 893_1A0000736_0000004 (Gov006957-6966)
                      - ATT_Records_Key (Gov006967-6983)
                      - ReportAU_4162057 (Gov006984-7202)
                      - ReportCT_4162057 (Gov007203)
                      - ReportIMEI_4162057 (Gov007204-7205)
                      - ReportIMSI_4162057 (Gov007206)
                      - ReportLandline_4162057 (Gov007207)
                      - ReportLoc_4162057 (Gov007208-7221)
                      - ReportPAYMENT_4162057 (Gov007222)
                      - ReportSIMCARD_4162057 (Gov007223)
                      - ReportStirShaken_4162057 (Gov007224)
                      - ReportTA_4162057 (Gov007225-7238)

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                       CASE NO. 24-80116-CR-CANNON/MCCABE
               GOV’TS THIRD RESPONSE TO STANDING DISCOVERY ORDER
                          DATE PRODUCED: November 22, 2024
                            BATES RANGE: Gov005954-7523
FOLDER:                                      FILE NAME:                         BATES Range Nos.:
                                         (“>” denotes a folder)
                                      (“>>” denotes a subfolder)
                                  (“-”) denotes file within subfolder)
                   >> 894 T-Mobile:
                      - 2024 Interpreting All T-Mobile Records 20240814
                         (Gov007239-7270)
                      - 5256579_20240918_Certification (Gov007271)
                      - CDR_Quantum_8084648342_16085780 (Excel File)
                         (Gov007272)
                      - SUB_Tibco_8084648342_16085781 (Excel File)
                         (Gov007273)
                      - 5256579__CDRT_16085780__8084648342 (Excel File)
                         (Gov007274)
                      - Data_Sessions_536788_8084648342 (Excel File)
                         (Gov007275)
                      - TimingAdvance_310260310264780_08-19-2024_09-15-
                         2024_Records (Excel File) (Gov007276)
                   >> 944 WhatsApp Returns + Affidavit:
                      - 944_1A0000008_0000001 (zip file containing 31 jpgs)
                         (Gov007277)
                      - 944_1A0000009_0000001 Affidavit (Gov007278)
                      - preservation-1 (html file) (Gov007279)
                      - preservation-2 (html file) (Gov007280)
                      - records (html) (Gov007281)
                   >> 951 WhatsApp Return Duplicate:
                      - 951_1A0000776_0000001 (zip file containing 31 jpgs)
                         (Gov007282)
                      - preservation-1 (html file) (Gov007283)
                      - preservation-2 (html file) (Gov007284)
                      - records (html file) (Gov007285)
                                              6
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                       UNITED STATES v. RYAN WESLEY ROUTH
                       CASE NO. 24-80116-CR-CANNON/MCCABE
               GOV’TS THIRD RESPONSE TO STANDING DISCOVERY ORDER
                          DATE PRODUCED: November 22, 2024
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FOLDER:                                      FILE NAME:                                 BATES Range Nos.:
                                          (“>” denotes a folder)
                                       (“>>” denotes a subfolder)
                                   (“-”) denotes file within subfolder)
                   (Gov00007469)
                   Redacted_BWC_Det_           -Show_up_with_witness_in_MArtin_County
                   (Gov007470)
                   24-099061_-_FBI_Interview_-_Axon_Interview_-_VCD_Interview_2_-
                   _Camera_1
                   (Gov007471)
                   24-099061_-_FBI_Interview_-_Axon_Interview_-_VCD_Interview_2_-
                   _Cemera_2
                   (Gov007472)
                   BWC_Suspect_transport_from_VCD_to_Patrol_vehicle
                   (Gov007473)
                   Arrival_at_Palm_Beach_County_HQ_Body_Camera
                   (Gov007474)
                   No_value,_taking_suspect_into_VCD_holding_cell
                   (Gov007475)
                   Dash_Camera_-
                   _Prisoner_Transport_Martin_County_to_Palm_Beach_County_HQ
                   (Gov007476)
                   Prisoner_Transport_Martin_County_to_Palm_Beach_County_HQ
                   (Gov007477)
                   Initial_Contact_Prisoner_Transfer_from_MCSO_
                   (Gov007478)
                   FID_#_11716784_-_Routh_-_Taking_custody_of_suspect_for_transport_
                   (Gov007479)
                   Suspect-Chain_of_Custody_
                   (Gov007480)
                   Eagle_Video_(Suspect_Take_Down)
                   (Gov007481)


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                                        UNITED STATES v. RYAN WESLEY ROUTH
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                                                         (“>>” denotes a subfolder)
                                                     (“-”) denotes file within subfolder)
                                     1a_Axon_Body_3_Video_2024-09-15_1409_X60A9591S
                                     (Gov007482)
06 T.M. Notes                       T.M. Notes Redacted (Gov007483)                                Gov007483
Separate Drive: Electronic Evidence See Attached Index of Electronic Evidence                    Gov007484-7523




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